                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-22

                                            No. 308A20

                                       Filed 19 March 2021

     IN THE MATTER OF: A.R.P.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 7 April

     2020 by Judge John K. Greenlee in District Court, Gaston County. This matter was

     calendared in the Supreme Court on 11 February 2021 but determined on the record

     and briefs without oral argument pursuant to Rule 30(f) of the North Carolina Rules

     of Appellate Procedure.


           No brief for petitioner-appellee mother.

           Sydney Batch for respondent-appellant father.


           NEWBY, Chief Justice.

¶1         Respondent-father appeals from the trial court’s order terminating his

     parental rights to A.R.P. (Ansley).1 Counsel for respondent-father has filed a no-merit

     brief under Rule 3.1(e) of the North Carolina Rules of Appellate Procedure. We

     conclude that the issues identified by counsel in respondent-father’s brief as arguably

     supporting the appeal are meritless and therefore affirm the trial court’s order.




           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
                                         IN RE A.R.P.

                                         2021-NCSC-22

                                       Opinion of the Court



¶2         This case arises from a private termination action filed by petitioner, Ansley’s

     biological mother, to terminate the parental rights of respondent. Petitioner and

     respondent were married in January 2004, separated in July 2016, and divorced in

     September 2018. Ansley was the sole child born from their marriage.

¶3         On 29 April 2019, petitioner filed a petition to terminate respondent’s parental

     rights pursuant to N.C.G.S. § 7B-1111(a)(7) (2019). Petitioner alleged that

     respondent had “not seen [Ansley] in over two years despite the fact that [Ansley] and

     Petitioner still live in the same home which [respondent] formerly occupied with

     them, and has paid no child support for [Ansley] in over that same period of time.”

     Respondent filed an answer denying the material allegations of the petition.

¶4         Following a hearing held on 12 December 2019, the trial court entered an order

     on 7 April 2020 in which it determined grounds existed to terminate respondent-

     father’s parental rights for abandonment. N.C.G.S. § 7B-1111(a)(7). The trial court

     further concluded it was in Ansley’s best interests that respondent-father’s parental

     rights be terminated. Accordingly, the trial court terminated respondent-father’s

     parental rights. Respondent-father appeals.

¶5         Counsel for respondent-father has filed a no-merit brief on her client’s behalf

     under Rule 3.1(e) of the Rules of Appellate Procedure. Counsel identified two issues

     that could arguably support an appeal but also explained why she believed these

     issues lack merit. Counsel has advised respondent-father of his right to file pro se
                                          IN RE A.R.P.

                                          2021-NCSC-22

                                       Opinion of the Court



     written arguments on his own behalf and provided him with the documents necessary

     to do so. Respondent-father has not submitted written arguments to this Court.

¶6         We carefully and independently review issues identified by counsel in a

     no-merit brief filed under Rule 3.1(e) in light of the entire record. In re L.E.M., 372

     N.C. 396, 402, 831 S.E.2d 341, 345 (2019). After conducting this review, we are

     satisfied the trial court’s 7 April 2020 order is supported by clear, cogent, and

     convincing evidence and based on proper legal grounds. Accordingly, we affirm the

     trial court’s order terminating respondent-father’s parental rights.

           AFFIRMED.
